    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 1 of 26 PAGEID #: 3945




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

    UNITED STATES OF AMERICA,                  :        Case No. 1:20-cr-77
                                               :
    vs.                                        :        Judge Timothy S. Black
                                               :
    LARRY HOUSEHOLDER (1),                     :
                                               :
           Defendant.                          :

                           ORDER RESOLVING
                 THE PARTIES’ MOTIONS TO EXCLUDE/LIMIT
             THE TESTIMONY OF EXPERT WITNESSES (Docs. 129, 131)

          This criminal case is before the Court on: (A) the Government’s motion to limit

the testimony of Defendant Larry Householder’s proposed expert witness (Doc. 129) and

the parties’ responsive memoranda (Docs. 133, 135); and (B) Defendant Householder’s

motion to exclude/limit the testimony of two of the Government’s proposed expert

witnesses (Doc. 131), and the parties’ responsive memoranda (Docs. 132, 136).

                                     I. BACKGROUND

          On July 30, 2020, a federal Grand Jury returned a single-count Indictment,

charging Defendant Larry Householder and five co-defendants with participating in a

Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy, in violation of

18 U.S.C. § 1962(c), (d). (Doc. 22 at 10, 40).1


1
  The Indictment identifies the following as the RICO predicate offenses: honest services wire
fraud, in violation of 18 U.S.C. §§ 1343, 1346; interference with commerce, robbery, or
extortion, in violation of 18 U.S.C. § 1951; racketeering, including multiple acts of bribery under
Ohio Rev. Code § 35 l 7.22(a)(2), in violation of 18 U.S.C. § 1952; money laundering, in
violation of 18 U.S.C. § 1956, 1957; and multiple acts involving bribery, in violation of Ohio
Rev. Code § 2921.02. (Doc. 22 at 10-11).
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 2 of 26 PAGEID #: 3946




        Specifically, the Indictment alleges that Defendants Larry Householder, Jeffrey

Longstreth, Neil Clark, Matthew Borges, Juan Cespedes, and Generation Now

(collectively, the “Co-Defendants”), constituted an enterprise (the “Householder

Enterprise”), the purpose of which enterprise was to grow Defendant Householder’s

political power, to enrich the Householder Enterprise and its members and associates, and

to conceal these activities from public exposure and potential prosecution. (Id. at 1, 10).2

        The Indictment states that Generation Now “was a self-titled 501(c)(4), organized

under the laws of Delaware, registered in Ohio, and purported to be organized primarily

for a social welfare purpose under the Internal Revenue Code.” (Id. at 2). As a 501(c)(4)

entity, Generation Now benefited from tax-exempt status, but was also subject to the

statutory requirements that the entity operate exclusively for the promotion of social

welfare, and that the entity neither be organized for profit nor that the entity’s earnings

“inure[] to the benefit of any private shareholder or individual.” (Id.) (quoting 26 U.S.C.

§ 501(c)(4)(B)). However, the Indictment alleges that the Householder Enterprise

created Generation Now “to solicit, receive, and disburse money obtained in furtherance

of [the Householder Enterprise’s] purposes” and that Generation Now was used “as a

mechanism to receive and conceal bribe payments for the benefit of Householder’s

Enterprise members, Householder’s Enterprise associates, and others, both directly and

indirectly.” (Doc. 22 at 11-12). The Indictment details the Co-Defendants’ alleged use


2
 Defendants Longstreth, Cespedes, and Generation Now have pleaded guilty and will be
sentenced at the conclusion of the case. (Min. Entries, Oct. 29, 2020, Feb. 9, 2021). Defendant
Neil Clark died and, accordingly, the case against him was dismissed. (Doc. 88). Therefore,
Defendants Larry Householder and Matthew Borges are the only remaining defendants.

                                               2
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 3 of 26 PAGEID #: 3947




of Generation Now in furtherance of the charged conspiracy, as well as Co-Defendants’

purported use of other companies, political action committees, and 501(c)(4) entities, all

to accomplish the alleged purposes of the Householder Enterprise. (Id. at 2-40).

       At the heart of the allegations is the Householder Enterprise’s activities relating to

Ohio’s House Bill 6 (“HB 6”). Specifically, HB 6 was proposed legislation, introduced

in the Ohio House of Representatives in April 2019, during Defendant Householder

tenure as Speaker of the House. (Id. at 8). The Indictment states, in sum, that HB 6 was

aimed at benefiting one of Ohio’s public utility companies (“Company A Corp.” and,

collectively with its subsidiaries, “Company A”), by offering a financial “bail out” to one

of Company A Corp.’s otherwise bankrupt subsidiaries, and thereby avoiding closure of

Company A’s nuclear power plants in Ohio. (Id. at 4-8).

       Specifically, the Indictment alleges that, from March 2017 to March 2020, the

Householder Enterprise agreed to accept and did accept millions of dollars in bribes from

Company A, which bribes were paid in order to influence and reward Defendant

Householder, “in return for Householder taking specific official action for the benefit of

Company A, namely, to help enact into law legislation that would go into effect and save

the operation of the Nuclear Plants.” (Id. at 12-13). The Indictment further alleges that

the Householder Enterprise ensured that the bribe payments were passed through and

paid to and/or from various entities, including Generation Now, in an effort to launder

and conceal the nature of the bribe payments. (Id. at 12-15). The Indictment also details

the numerous ways that the Householder Enterprise allegedly used the bribe payments in

furtherance of the conspiracy, including, inter alia, to promote and ensure the passage of


                                              3
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 4 of 26 PAGEID #: 3948




HB 6 and to defeat contrary legislative initiatives, to support the campaigns of Defendant

Householder and others who would support HB 6, to pressure public officials to support

HB 6, and to retain and gain political power on behalf of Defendant Householder, all with

the intent to enrich and benefit, and to continue enriching and benefitting, the Co-

Defendants and other associates of the Householder Enterprise. (Id.)

        This case is set to proceed to voir dire on January 20, 2023, and to jury trial on

January 23, 2023. (Doc. 118). At trial, the parties anticipate calling various expert

witnesses—three of whom are the subject of the parties’ instant motions. (Docs. 129,

131). The Court will address each party’s motion in turn.3

                              II. STANDARD OF REVIEW

        Federal Rule of Evidence 702 governs the admissibility of expert testimony. The

trial judge must serve a “gatekeeping role,” to “ensur[e] that an expert’s testimony both

rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579, 597 (1993).

        For expert testimony to be admissible, the Court must find that: (1) the expert is

qualified; (2) the expert’s testimony is reliable; and (3) the expert’s testimony is relevant.

United States v. LaVictor, 848 F.3d 428, 441 (6th Cir. 2017) (citing Daubert, 509 U.S. at

589); Fed. R. Evid. 702.




3
  The defense requested a Daubert hearing on its motion. (Doc. 131). However, after reviewing
the pleadings thoroughly, the Court determined that the record was complete to issue rulings, and
thus a hearing was unnecessary. See United States v. Reynolds, 626 F. App’x 610, 614 (6th Cir.
2015) (“A district court is not required to hold a Daubert hearing before admitting expert
testimony”) (citing Clay v. Ford Motor Co., 215 F.3d 663, 667 (6th Cir. 2000)).

                                               4
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 5 of 26 PAGEID #: 3949




                                      III. ANALYSIS

       Both the Government and Defendant Householder seek to limit or exclude the

anticipated testimony of the opposing party’s expert witness(es). (Doc. 129, 131).

Notably, neither party questions the qualifications of the proposed witnesses, nor the

reliability of the anticipated testimony. Thus, the focus of both motions is on the

relevance of the anticipated testimony.

       As an initial matter, the opinion testimony of a qualified expert is relevant if “the

expert’s scientific, technical, or other specialized knowledge will help the trier of fact to

understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). Thus, the

Court may consider “whether the untrained layman would be qualified to determine

intelligently and to the best possible degree the particular issue without enlightenment

from those having a specialized understanding of the subject involved in the dispute.”

United States v. Rios, 830 F.3d 403, 413 (6th Cir. 2016) (quoting Fed. R. Evid. 702, Adv.

Comm. Notes). However, it is “well settled that ‘necessity’ is not a condition precedent

for the admissibility of opinion testimony under Federal Rule of Evidence 702 ….”

United States v. Brawner, 173 F.3d 966, 969 (6th Cir. 1999).

       Indeed, “[t]he relevancy bar is low, demanding only that the evidence ‘logically

advances a material aspect of the proposing party’s case.’” LaVictor, 848 F.3d at 442

(quoting Messick v. Novartis Pharm. Corp., 747 F.3d 1193, 1196–97 (9th Cir. 2014)).

The proponent of the expert testimony merely needs to make a preliminary showing, by a

preponderance of the evidence, that the proffered testimony “is ‘sufficiently tied to the




                                              5
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 6 of 26 PAGEID #: 3950




facts of the case that it will aid the jury in resolving a factual dispute….’” United States

v. LeBlanc, 45 F. App’x 393, 400 (6th Cir. 2002) (citations omitted).

       Nevertheless, “expert testimony is subject to the same relevancy constraints as all

other kinds of evidence.” Id.; Daubert, 509 U.S. at 595 (1993) (“a judge assessing a

proffer of expert [] testimony under Rule 702 should also be mindful of other applicable

rules”). Needless to say, “[i]rrelevant evidence is not admissible.” Fed. R. Evid. 402.

But even relevant evidence may be excluded “if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the

issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403.

       A. The Government’s Motion to Limit Expert Testimony

       At trial, Defendant Householder intends to call Caleb P. Burns as an expert on

“political involvement by tax-exempt 501(c)(4) organizations.” (Doc. 129-1 at 1). As

stated in Defendant Householder’s disclosure, Mr. Burns is expected to testify regarding

the following:

         (1) Federal law governing 501(c)(4) activities. … [P]rovide
             background on the federal laws that govern the political
             activities of a 50l(c)(4) organization. … [E]xplain that a
             501(c)(4) organization may engage in candidate-related
             activities provided that doing so is not the organization’s
             primary purpose. Though there are no bright-line standards for
             measuring primary purposes, Mr. Burns will share that relevant
             federal authorities suggest 40% is an appropriate threshold, but
             in practice, the threshold may increase to 49%. … [E]xplain
             that lobbying on legislation and engaging in ballot measure
             activities can be a 501(c)(4) organization’s primary purpose
             and, therefore, constitute 100% of the organization’s activities.



                                              6
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 7 of 26 PAGEID #: 3951




         (2) Officeholder alignment with 501(c)(4) organizations. …
             [W]ill explain how officeholders can be aligned with 501(c)(4)
             organizations.    That is, policy goals and will work
             collaboratively to achieve their mutual goals. … [P]rovide
             examples including: One Nation which is aligned with U.S.
             Senate Minority Leader Mitch McConnell, and Majority
             Forward which is aligned with U.S. Senate Majority Leader
             Chuck Schumer.

         (3) Background on federal “leadership” PACs and private support
             for an officeholder’s legislative leadership aspirations.
             [E]xplain that a federal “leadership” PAC is an entity that an
             officeholder maintains to raise money from private sources to
             then contribute to the campaigns of allied candidates and
             officeholders. [E]xplain the original intent of “leadership”
             PACs – and the derivation of the name. That is, an officeholder
             would establish a “leadership” PAC and raise funds from
             private sources to then contribute the funds to colleagues who,
             presumably, would vote for the officeholder in the legislature’s
             leadership elections (e.g., for positions like Majority Leader or
             Speaker of the House). [E]xplain that “leadership” PACs
             remain a fixture of the current political system and demonstrate
             that private support for an officeholder’s legislative leadership
             aspirations is commonplace.

(Id. at 1-2).

        The Government argues that, while it does not seek to exclude Mr. Burns’s

testimony in its entirety, some of Mr. Burns’s anticipated testimony should be excluded

as it is irrelevant and/or otherwise inadmissible. (Docs. 129, 135). Specifically, the

Government argues that the Court should: (1) limit anticipated testimony regarding the

law to ensure that such testimony does not intrude upon the province of the Court;

(2) exclude testimony asserting that certain fundraising activities are “commonplace” in

politics; and (3) exclude testimony regarding “leadership” PACs, as it is irrelevant in this

case.



                                             7
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 8 of 26 PAGEID #: 3952




              1. Testimony Regarding the Law

       The Government argues that while Mr. Burns’s anticipated testimony regarding

“[f]ederal law governing 501(c)(4) activities” is “potentially permissible,” such testimony

risks intruding upon the Court’s province to instruct jurors on the law. (Doc. 129 at 5).

The Government further argues that the testimony would invade the province of the jury

if Mr. Burns were to opine on the propriety of the alleged conduct or on a defendant’s

intent. (Id.) Accordingly, the Government asserts that Mr. Burns’s testimony “must be

limited to background testimony of the regulatory scheme to provide context for the

jury,” but “may not attempt to explain the law in these areas or suggest that the

defendant’s conduct comported, or did not comport, with these laws.” (Id. at 5-6).

       Defendant Householder, in effect, responds that providing background and context

regarding the regulations governing 501(c)(4) entities is precisely what Mr. Burns intends

to do. (Doc. 133 at 3-5). In sum, Defendant contends that Mr. Burns’s anticipated

testimony will neither invade the province of the jury nor the Court.

       “[I]t is not for the witnesses to instruct the jury as to applicable principles of law,

but for the judge.” United States v. Zipkin, 729 F.2d 384, 387 (6th Cir. 1984) (quoting

Marx & Co., Inc. v. Diner’s Club, 550 F.2d 505, 509-510 (2d Cir. 1977)). Moreover, the

expert witness “may not ‘define legal terms’ or state ‘impermissible legal conclusions.’”

United States v. Mazumder, 800 F. App’x 392, 395 (6th Cir. 2020) (quoting Killion v.

KeHE Distribs., LLC, 761 F.3d 574, 592-93 (6th Cir. 2014)). Further, an expert witness’s

opinion may “embrace[] an ultimate issue,” but “[i]n a criminal case, an expert witness

must not state an opinion about whether the defendant did or did not have a mental state


                                               8
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 9 of 26 PAGEID #: 3953




or condition that constitutes an element of the crime charged or of a defense. Those

matters are for the trier of fact alone.” Fed. R. Evid. 704; see United States v. Maya, 966

F.3d 493, 506 (6th Cir. 2020) (holding that experts may opine “in general terms” on

conduct that is typically seen from a person who does possess the requisite intent, “so

long as the expert leaves ‘unstated the inference that the defendant, having been caught

engaging in more or less the same practices, also possessed the requisite intent’”)

(quoting United States v. Combs, 369 F.3d 925, 940 (6th Cir. 2004)).

        In short, an expert witness walks a fine line anytime the witness’s testimony

embraces ultimate issues or attempts to explain a legal framework. And whether the

testimony crosses the line can be controlled, in no small part, by the form of the questions

posed and the scope of the expert’s responses.4 Thus, the Court need not exclude an

entire category of testimony just to ensure compliance with the Rules of Evidence.

        But, as the Government notes, “the defendants are not charged with any campaign

finance or regulatory violations.” (Doc. 129 at 2). Thus, some of Mr. Burns’s anticipated

testimony can and should be limited—not simply because it risks violating the rules, but

because that risk arises in the context of irrelevant testimony. To the extent that Mr.


4
  In Mazumder, the Sixth Circuit held that the defendant’s expert’s “testimony [in a wire fraud
case] constitutes a legal conclusion that improperly intruded on the court’s responsibility to
explain the law to the jury … [when the expert] invoked the word ‘material,’ attempted to define
the materiality standard, and concluded that the bank statement ‘would not be material.’”
Mazumder, 800 F. App’x at 395. The Sixth Circuit went on to distinguish the Mazumder case
from a Fifth Circuit case cited by the appellant, noting that “the Fifth Circuit … allowed expert
testimony by an independent consultant and certified financial examiner because the defendant
‘sought to ask [the expert] the factual question of whether the false statements in this case would
have the capacity to influence a loan officer, … not the legal question of whether the statements
were material.’” Mazumder, 800 F. App’x at 396 (quoting United States v. Lueben, 812 F.2d
179, 184-85 (5th Cir. 1987)).

                                                 9
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 10 of 26 PAGEID #: 3954




Burns intends to accurately explain 501(c)(4) entities and how they may generally

function in the political arena, such testimony is unlikely to run afoul of the Court’s

instructions. However, because the Government has not charged campaign finance or

regulatory violations in this case, and as the Court will explain in the following

subsection of this Order, see infra, some of Mr. Burns’s more detailed testimony

regarding campaign finance regulations is simply irrelevant and would be confusing to

the jury.

         Accordingly, the Court will allow Mr. Burns’s testimony to the extent that it

provides accurate and helpful background and context for the jurors. Notably, there

appears to be no genuine disagreement between the parties as to whether the testimony is

permissible for such a purpose. The Court notes, however, that even such general

testimony (from either party’s witnesses, frankly) could stray into the territory of offering

legal conclusion. Accordingly, the Court reminds counsel that the Court (not the expert

witnesses) will instruct the jury on the relevant law. The expert witnesses “may not

‘define legal terms’ or state ‘impermissible legal conclusions,’” nor may the expert opine

on a defendant’s state of mind or intent. Mazumder, 800 F. App’x at 395; Fed. R. Evid.

704(b).5


5
  Given the Government’s intent to call expert witness(es) to provide similar background and
context, defense counsel may find that they have elicited sufficient testimony through cross-
examination, such that Mr. Burns’s testimony is no longer required. Moreover, given the charge
in this case, coupled with the Court’s ruling regarding Dr. Wood’s testimony (infra), Mr. Burns’s
elaboration regarding regulations is irrelevant and unhelpful to the jury. However, in the event
that such evidence becomes relevant after the Government’s case in chief, the Court will revisit
its ruling. Additionally, if Defendant Householder chooses to call Mr. Burns to testify during the
defense’s case in chief, the Court may, at that time, voir dire Mr. Burns, outside the jury
presence, to determine if his testimony requires further limitation regarding the law.

                                               10
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 11 of 26 PAGEID #: 3955




              2. Testimony About “Common” Fundraising Activities

       Next, the Government argues that the Court should exclude Mr. Burns’s

anticipated testimony regarding “common” uses of unrelated 501(c)(4) organizations that

are aligned with various politicians. (Doc. 129 at 7-11).

       The Government states that, based on the expert disclosure and the identified areas

of Mr. Burns’s anticipated testimony, it would appear that “Defendant Householder plans

on presenting evidence through Mr. Burns that other public officials have engaged in ‘x’

conduct, and because they have not been prosecuted, Householder’s conduct must

therefore be legal and/or this prosecution is unfair.” (Id. at 7). The Government argues

that such testimony is irrelevant and misleading because: (1) “[t]he defendants are not

charged with violating campaign finance laws, nor is their compliance with those laws a

defense to the charges in this case”; (2) the conduct of unrelated individuals, or whether

certain conduct is typical or commonplace, has no bearing on the guilt or innocence of

the charged defendants; (3) testimony regarding what other politicians do or have done

“is a backdoor selective prosecution argument”; and (4) the testimony “functions as a

proxy for Householder’s own testimony about his intent … [and] [i]t is impermissible for

the defense to use Mr. Burns’s testimony to suggest that Householder lacked the requisite

intent because his actions were ‘typical’ in American politics or ‘common’ of other

politicians.” (Id. at 7-11).

       Defendant Householder responds that the Government intends to introduce

testimony regarding 501(c)(4)s and campaign finance, and therefore he should be

permitted to introduce the same. (Doc. 133 at 5). Defendant Householder also argues


                                            11
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 12 of 26 PAGEID #: 3956




that the Government will “no doubt portray [Defendant Householder’s connection to

Generation Now] as unusual and/or illicit,” thereby necessitating Mr. Burns’s testimony

to “rebut” said evidence. (Id. at 5-6). Defendant further argues that testimony regarding

what constitutes common practice will help the jury assess whether the alleged conduct is

“something more” than permissible campaign actions. (Id. at 6-7). Finally, Defendant

Householder asserts that Mr. Burns will not testify about Defendant’s mental state, nor is

the testimony intended to serve as a selective prosecution argument. (Id. at 8-9).

         To start, the Court has already ruled, supra, that it will not permit expert witnesses

to opine on a defendant’s state of mind. Additionally, the Court already excluded

evidence and argument relating to selective prosecution, as set forth in the Court’s prior

Order resolving the parties’ motions in limine.6 (Doc. 161 at 5-6). Thus, expert

testimony that opines on a defendant’s state of mind, as well as expert testimony that

addresses or implicates selective prosecution, will not be permitted.

         Additionally, Defendant Householder is correct that the Government intends to

offer background testimony to assist the jury in understanding the context of campaign

finance and 501(c)(4)s. And, indeed, the Government does not begrudge Defendant

Householder the same opportunity (cumulative as the testimony may be). The Court has

already held, supra, that it will permit such testimony to assist the jury.




6
 Notably, in their responses to the Government’s motion in limine, Defendants Householder and
Borges confirmed that they have no intention to argue selective prosecution. (Doc. 150 at 3-4;
Doc. 152 at 2-5).

                                               12
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 13 of 26 PAGEID #: 3957




       However, as this Court noted in its prior Order resolving the parties’ motions in

limine, the Court will not permit the argument that “the alleged conduct is common

practice and should therefore be excused.” (Doc. 161 at 7). Thus, in the (unlikely) event

that Defendant intends to admit the allegations but argue that the jury should simply

ignore unlawful conduct, such argument is precluded. United States v. Vasilakos, 508

F.3d 401, 409 (6th Cir. 2007) (noting “the manifest illogic of the argument that because

‘others did it too, and [because relevant] policies condoned [the conduct], [defendants]

therefore had no specific intent to defraud’”). On the other hand, to the extent that

Defendant Householder will argue that he neither knew about nor engaged in the alleged

conduct at all, or if he intends to argue that the Government is misconstruing his intent,

testimony regarding what is common practice is irrelevant. In other words, the fact that

countless others may engage in the same conduct that is alleged in the Indictment has no

relevance to the case if Defendant is denying that he engaged in that alleged conduct.

Nor does the conduct of unrelated politicians undermine the Government’s allegation that

Defendant Householder conspired and acted in this case with knowledge and intent. Id.

(“it is obvious that the defendants’ proffered evidence of similar fraud by other managers

was not relevant … because the evidence had no tendency to show that it was less

probable that the defendants acted with intent to defraud”).

       Finally, the Court disagrees with Defendant Householder’s contention that

offering testimony regarding lawful campaign practices by other politicians and other

501(c)(4)s will “rebut” the Government’s evidence regarding Defendant Householder’s

alleged conduct. As an initial matter, Defendant intends to offer Mr. Burns’s testimony


                                             13
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 14 of 26 PAGEID #: 3958




to explain campaign finance regulations. Thus, the anticipated testimony would not

“rebut” the Government’s argument unless the Government were to argue that 501(c)(4)s

play no lawful role in campaign financing. But the Government is not alleging campaign

finance violations, nor is the Government asserting that Generation Now could not have

been used for any lawful purpose—the allegation is that Defendant Householder used

Generation Now for unlawful purposes. Thus, the issue the jury will need to consider is

not the lawful uses of unrelated 501(c)(4)s, but rather Defendant Householder’s alleged

misuse of Generation Now to accomplish unlawful purposes.

       For instance, Mr. Burns’s intends to testify that “501(c)(4) organization may

engage in candidate-related activities provided that doing so is not the organization’s

primary purpose,” and that “federal authorities suggest 40% is an appropriate threshold,

but in practice, the threshold may increase to 49%.” (Doc. 129-1 at 1). But the

Government is not alleging that Defendant Householder’s use of Generation Now

constituted 51% candidate-related activities. The Government is alleging that Defendant

Householder and the remaining Co-Defendants conspired to use Generation Now to

launder bribe money—the “appropriate threshold” in that instance is 0%. Therefore, the

proposed expert testimony would accomplish nothing other than to throw out unrelated

regulatory facts and figures, and then validate that information by explaining that other

politicians adhere to those regulations. Such evidence is confusing to the jury and

irrelevant to the case.

       Accordingly, the Court GRANTS the Government’s motion to exclude testimony

relating to common campaign finance practices and unrelated candidates.


                                            14
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 15 of 26 PAGEID #: 3959




              3. Testimony Regarding “Leadership” PACs

       Finally, the Government argues that the Court should exclude Mr. Burns’s

testimony regarding “leadership PACs.” (Doc. 129 at 11-12). Specifically, the

Government notes that a “leadership PAC” is a federally defined and regulated

committee for Federal candidates and Federal officeholders, and “[t]here is no evidence

that the defendants in this case had or operated any federal leadership PACs during the

relevant time period.” (Id.)

       Defendant Householder acknowledges that, indeed, “none of the defendants had or

operated a federal leadership PAC during the time period at issue in the Indictment.”

(Doc. 133 at 9). However, Defendant argues that the testimony is nevertheless relevant

because “Generation Now functioned as a kind of leadership PAC.” (Id. at 10).

       Defendant Householder’s argument is entirely without merit. There is no

probative nor instructional value in presenting the jury with an explanation of an entity

that never existed, simply for the sake of analogy. Such testimony is inadmissible, as it is

entirely irrelevant and would only serve to confuse the jury. See Fed. R. Evid. 402, 403.

       The Government’s motion to exclude testimony regarding “leadership PACs” is

GRANTED.

       B. Defendant Householder’s Motion to Exclude/Limit Expert Testimony

       Defendant Householder moves to exclude the testimony of the Government’s

expert witness, Noah Dormady, Ph.D., as well as to limit the testimony of the

Government’s expert, Abby Wood, J.D., Ph.D. (Doc. 131). Defendant argues that the




                                            15
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 16 of 26 PAGEID #: 3960




proposed testimony of the Government’s two expert witnesses is irrelevant, unfairly

prejudicial, and cumulative. (Doc. 131).

       The Government opposes Defendant’s motion, asserting that the arguments as to

admissibility are meritless and that any attack on the anticipated testimony must be

presented through cross-examination. (Doc. 132).

       The Court will address the arguments as to each expert witness in turn.

              1. Dr. Noah Dormady

       The Government summarizes Dr. Dormady’s proposed testimony as follows:

              Dr. Dormady, a professor at The Ohio State University, will
              provide background information and context about energy
              policy; he will testify regarding energy markets, generally,
              including how energy is generated, distributed, priced and sold
              to consumers in Ohio. Dr. Dormady will explain how energy
              generation, distribution and pricing are regulated. He will also
              testify about important context leading up to HB 6, including
              Ohio’s attempt to deregulate (or “restructure”) energy
              generation and distribution in Ohio, and how that, coupled with
              natural gas prices, led to distribution utilities, like FirstEnergy,
              recovering lost profits for their affiliated generation companies
              through riders and surcharges on utility bills. Through his
              testimony, he will explain energy terminology that the jury will
              need to have a basic understanding of HB 6.

(Doc. 132 at 3-4).

       Defendant Householder asserts that Dr. Dormady’s proposed testimony should be

excluded, because an understanding of energy markets and policy is irrelevant and

unhelpful to the jury. (Doc. 131 at 6-9). Specifically, Defendant acknowledges that “HB

6 is a piece of energy legislation,” but argues that “the trial is not about the merits [of]




                                              16
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 17 of 26 PAGEID #: 3961




HB 6,” and “the government cannot win a conviction by proving that … the passage of

HB 6[] was undesirable or detrimental to the public.” (Id. at 7).

       The Government responds that it will not ask Dr. Dormady to opine on the

wisdom of HB 6, unless the defense opens the door to such testimony. (Doc. 132 at 7).

Moreover, the Government argues that Dr. Dormady’s testimony will provide helpful

background to the jury, particularly with regard to terms and concepts that will be used

frequently during the trial. (Id. at 6-7). For instance, the Government states that the

testimony will “explain the difference between energy generation (such as FirstEnergy

Solutions) and distribution (such as FirstEnergy and its affiliates), who regulates

generation and distribution, and how Ohioans pay for energy.” (Id. at 7). Additionally,

the testimony will provide jurors with definitions for technical terms such as “riders” and

“subsidies,” which terms are relevant to and will come up when discussing the HB 6

legislation. (Id.) Accordingly, the Government argues that the testimony is admissible

and, indeed, that “[i]t would be unfair to the government and the jurors themselves to

expect jurors to understand an alleged agreement about a billion-dollar nuclear bailout

without ensuring jurors have a basic understanding of energy policy and energy markets

in Ohio.” (Id.) The Court agrees.

       While the charged offense is not about energy policy in Ohio, the alleged conduct

did not occur in a vacuum. In other words, the Government will need to present its

evidence with the correct context and, in this case, that context is far from self-

explanatory. The Government cannot present its case without referencing nuclear power

plants, energy markets, energy-related legislative policies, etc., nor can the jurors be


                                             17
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 18 of 26 PAGEID #: 3962




expected to understand such references without some assistance. Given the specialized

nature of the relevant background and context, the jury will benefit from the guidance

that Dr. Dormady’s testimony offers. Accordingly, Dr. Dormady’s testimony is relevant

and helpful.

       In the alternative, Defendant Householder argues that the Court should, at

minimum, exclude Dr. Dormady’s proposed testimony regarding the negative consumer

impact that resulted from the restructuring of Ohio’s energy markets in 1999 and 2008.

(Doc. 131 at 8). Specifically, Defendant asserts that this testimony is irrelevant because

it involves legislation predating the charged conspiracy and that Defendant Householder

“was not even a member of the General Assembly in 2008.” (Id. at 8, n.1). Defendant

also argues that the testimony is unfairly prejudicial, and that such testimony could lead

jurors to improperly convict based on their judgment regarding “the wisdom of

legislation passed years before HB 6.” (Id. at 8-9).

       The Government responds that, while Defendant Householder did not serve as a

member of the Ohio House of Representatives in 2008, he did serve “between 1997 and

2004 when the deregulation (or ‘restructuring’) of energy systems and markets began.”

(Doc. 132 at 8, n.6.). Further, the Government argues that “the previous deregulation[] of

the energy markets in Ohio had a direct impact on energy policy in 2016-2017 when

FirstEnergy sought a legislative solution for its nuclear plants as alleged in the

Indictment.” (Id. at 8). Thus, the Government asserts that the testimony serves as

“significant background and foundational evidence for the jury, and provides motive

evidence about the need for the illicit agreement.” (Id.) (citing United States v. Reifler,


                                             18
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 19 of 26 PAGEID #: 3963




446 F.3d 65, 92 (2nd Cir. 2006)). The Government further argues that “‘official action’

[is] an element of the federal bribery predicate acts,” and thus Dr. Dormady’s “testimony

adds valuable context [] for the jury [to] understand[] who regulates energy markets in

Ohio and how they are regulated.” (Doc. 132 at 8).

       “[P]roper background evidence has a causal, temporal or spatial connection with

the charged offense … [including evidence that] is a prelude to the charged offense, is

directly probative of the charged offense, arises from the same events as the charged

offense, forms an integral part of a witness’s testimony, or completes the story of the

charged offense.” United States v. Holley, 57 F. App’x 639, 640-41 (6th Cir. 2003)

(quoting United States v. Hardy, 228 F.3d 745, 748 (6th Cir. 2000)) (emphasis added).

Moreover, “[p]rosecutors are permitted to provide the jury with a ‘natural narrative of

events,’ and are not limited to a ‘sanitized recounting of the facts.’” United States v.

Littles, 688 F. App’x 321, 324 (6th Cir. 2017) (quoting United States v. Gibbs, 797

F.3d 416, 424 (6th Cir. 2015)). Nevertheless, the Court “may exclude relevant evidence

if its probative value is substantially outweighed by a danger of one or more of the

following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403

(emphasis added).

       As discussed, supra, the Court agrees that the testimony provides relevant

background and context. Specifically, the testimony serves as a prelude, explaining the

history of the energy market in Ohio and how that history set the stage (i.e., created

opportunity and motive) for the Co-Defendants to allegedly engage in the conduct


                                             19
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 20 of 26 PAGEID #: 3964




described in the Indictment. The Government must be permitted “to provide the jury

with a ‘natural narrative of events,’” and Defendant is not entitled to a “sanitized” version

of the story. See Littles, 688 F. App’x 321, 324.

       That said, the Court must still weigh the probative value of the testimony under

Rule 403. In particular, the Court must consider whether testimony regarding the

negative consumer impact of deregulation is unfairly prejudicial. Notably, “[u]nfair

prejudice does not mean the damage to a defendant’s case that results from the legitimate

probative force of the evidence; rather it refers to evidence which tends to suggest [the

jurors’] decision on an improper basis.” United States v. Ford, 761 F.3d 641, 648 (6th

Cir. 2014) (quoting United States v. Gibbs, 182 F.3d 408, 430 (6th Cir. 1999)).

       Here, the probative value of Dr. Dormady’s anticipated testimony is significant,

whereas Defendant Householder’s concern that the jury will essentially run amok with

the evidence is speculative, at best. To start, defense counsel will have the opportunity to

cross-examine Dr. Dormady, to establish Defendant Householder’s involvement, or lack

thereof, in the historical deregulation. Moreover, the Court will properly instruct the jury

on the purpose of the testimony being presented and will further instruct the jurors that

their consideration of the evidence is limited to that purpose. United States v. Adams,

722 F.3d 788, 812-13 (6th Cir. 2013) (finding that background testimony “was not pretty,

but it was not unfairly ugly either,” and the district court did not abuse its discretion by

admitting the testimony with an appropriate instruction to the jurors) (citing United States

v. Merriweather, 78 F.3d 1070, 1077 (6th Cir. 1996)).




                                              20
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 21 of 26 PAGEID #: 3965




       Accordingly, Defendant Householder’s motion to exclude Dr. Dormady’s

testimony is DENIED.

              2. Dr. Abby Wood

       Defendant Householder also moves to limit the testimony of Dr. Abby Wood.

(Doc. 131). Specifically, Defendant agrees that Dr. Wood “may testify about the

different entities through which political candidates receive financial support,” but asserts

that the remainder of Dr. Wood’s anticipated testimony is irrelevant and cumulative. (Id.

at 9-11).

       As stated in the expert disclosure, Dr. Wood’s testimony is intended to provide

“context and background about the American system of campaign finance, the features

and operation of political spending, and the regulation of political spending.” (Doc. 132-

2 at 8). The specific testimony to which Defendant Householder objects is summarized

in Dr. Wood’s expert disclosure, as follows:

              … The disclosure requirements associated with [] non-
              traditional entities vary depending upon the type of entity. For
              example, 501(c)(4) entities generally are not required to
              publicly disclose contributors. These 501(c)(4) entities are
              often referred to as sources of “dark money” because of their
              lack of transparency to the public, compared to traditional
              entities such as a candidate’s campaign committee. The lack
              of transparency is amplified when non-traditional entities are
              used in conjunction with one another. Some believe that the
              lack of transparency of these dark money entities make them []
              ripe vehicles to use to circumvent limits set for the traditional
              entities. Moreover, because many of these non-traditional
              entities do not disclose the sources of their contributions, they
              prevent the public from detecting when public officials favor
              the preferences of their donors over the preferences of their
              broader constituency.



                                             21
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 22 of 26 PAGEID #: 3966




              Dr. Wood will educate the jury generally about the concept of
              campaign finance disclaimers, which are the “stand by your
              ad” requirements that appear with political messages. These
              disclaimers identify the entity that paid for the ad. Disclaimers
              have the feature of appearing immediately with the message,
              though in the video context, they have the disadvantage of
              being displayed only very briefly. Dr. Wood will explain that
              disclaimers have consistently been shown to affect voter
              perceptions.

(Id.)

        To start, Defendant Householder takes issue with the statement that: “Some

believe that the lack of transparency of these dark money entities make them [] ripe

vehicles to use to circumvent limits set for the traditional entities.” (Doc. 131 at 9-10).

Defendant argues that the statement does not constitute Dr. Wood’s expert opinion, but

rather her restatement of what others think. (Id.) Defendant also argues that the opinion

is irrelevant, as Defendant is not charged with campaign finance violations. (Id. at 9).

        The Court agrees with Defendant’s argument regarding Dr. Wood’s “ripe

vehicles” statement. To be sure, the Government could easily cure the objection as to

form. But the Court has agreed to limit Defendant’s expert from testifying regarding the

appropriate uses of 501(c)(4)s for campaign finance purposes. It would therefore be

unfair to allow the Government’s expert to gratuitously opine on 501(c)(4)s as “ripe

vehicles” for fraud.

        Defendant Householder also takes issue with the statement: “because many of

these non-traditional entities do not disclose the sources of their contributions, they

prevent the public from detecting when public officials favor the preferences of their

donors over the preferences of their broader constituency.” (Doc. 131 at 10). Defendant


                                             22
    Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 23 of 26 PAGEID #: 3967




argues that it does not require an expert to deduce that “if an entity does not disclose its

contributors, the public will not know whether a public official favors those

contributors.” (Id.)

         The Government responds that Defendant Householder takes Dr. Wood’s

statement out of context and, moreover, that Dr. Wood’s conclusion is not within the

scope of common knowledge. (Doc. 132 at 10).

         The Court agrees that Dr. Wood’s anticipated testimony is not as straightforward

as the defense claims it to be. Dr. Wood’s anticipated testimony starts by explaining

various non-traditional entities, and transitions to her explanation of the real-world

drawbacks to using such entities. Of course, after reading a full summary of Dr. Wood’s

anticipated testimony, and with the full benefit of that explanation and its context, Dr.

Wood’s conclusion seems obvious. But the Court declines to cut off Dr. Wood’s

permissible testimony in the hope that jurors will intuitively make the leap of logic for

themselves.7

         Defendant Householder also argues that the testimony is cumulative, and that the

Government’s other proposed expert, Charles Walker, is already expected to testify

regarding 501(c)(4) contributions. (Doc. 131 at 11-12). Defendant argues that the

cumulative testimony is unfairly prejudicial, as the jury may resort to “counting heads” to

weigh competing expert testimony. (Id.)



7
  Unlike the “ripe vehicle” opinion, which opinion spoke to circumventing campaign finance
regulations, Dr. Wood’s anticipated testimony regarding lack of disclosure in contributions
speaks directly to the charges in this case.

                                              23
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 24 of 26 PAGEID #: 3968




       The Government responds by stating that while both experts will discuss 501(c)(4)

entities, the scope of that discussion will be unrelated. (Doc. 132 at 11). The

Government notes that Mr. Walker will be testifying based on his training and experience

as an IRS employee, and will describe the traditional uses of 501(c)(4) entities. (Id.)

       The Court agrees that the anticipated testimony of the two experts is not

cumulative. Of course, there will undoubtedly be some initial overlap in explaining

501(c)(4) entities (and the Court would appreciate the Government’s efforts to minimize

this repetition to the extent possible). But a brief restatement that simply reminds jurors

about the gist of a 501(c)(4) entity, before the witness launches into more in-depth

testimony, is hardly cumulative or prejudicial.

       Finally, Defendant Householder argues that the Court should also exclude Dr.

Wood’s opinion about “the concept of campaign finance disclaimers.” (Doc. 131 at 12).

Defendant argues that the opinion is neither relevant, “[n]or does it help the jury to know

‘that disclaimers have consistently been shown to affect voter perceptions.’” (Id.)

Defendant further argues that “the jury does not need an expert to tell them what effect, if

any, a campaign finance disclaimer may have on [voters],” and further notes that the

campaign disclaimers are shown on the advertisements themselves. (Id.; Doc. 136 at 5).

       The Government argues that the testimony is relevant to proving the existence of

an “enterprise,” which in turn requires the Government to show the existence of a

“continuing unit that functions with a common purpose.” (Doc. 132 at 12) (quoting

Boyle v. United States, 556 U.S. 938, 948 (2009)). The Government notes that, “[o]ne

way the Enterprise worked together was to expand Householder’s power by using dark


                                             24
 Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 25 of 26 PAGEID #: 3969




money advertisements that obscured the source and funding of the advertisements,” i.e.,

“they bore the name of Generation Now or other dark money entities funded by

Generation Now to further obscure from the public the source and funding of the

advertisements.” (Id. at 12-13). Accordingly, the Government argues that “Dr. Wood’s

background testimony about campaign finance disclaimers will be helpful to the jury in

contextualizing the advertisements they see and hear during trial, which will aid them in

determining the existence of an enterprise under RICO.” (Id. at 13).

       The Court agrees that Dr. Wood’s anticipated testimony regarding campaign

finance disclaimers is entirely relevant to the evidence in the case and that the anticipated

testimony will be helpful to the jury. While Defendant is correct in noting that the

campaign disclaimers are displayed at the bottom of the advertisements and will be seen

by the jury when those advertisements are entered into evidence, the defense must bear in

mind that not every juror will understand the significance of these disclaimers. A brief

explanation of the significance of such disclaimers will assist the jury and provide

context for the evidence the Government intends to present.

       Accordingly, Defendant Householder’s motion to limit Dr. Abby Wood’s

testimony is well-taken in part, but otherwise denied. (Doc. 131). Specifically, the

motion is GRANTED as to the “ripe vehicles” opinion, but is DENIED in all other

respects.




                                             25
Case: 1:20-cr-00077-TSB Doc #: 168 Filed: 12/19/22 Page: 26 of 26 PAGEID #: 3970




                              IV. CONCLUSION

     Based upon the foregoing, the Government’s Daubert motion (Doc. 129) is

GRANTED. And Defendant Householder’s Daubert motion (Doc. 131) is GRANTED

IN PART and DENIED IN PART.

     IT IS SO ORDERED.

Date: 12/19/2022
                                                      Timothy S. Black
                                                      United States District Judge




                                       26
